   Case 2:17-cv-00870-KSH Document 45 Filed 12/31/18 Page 1 of 5 PageID: 402

NOT FOR PUBLICATION
                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  DR. SUSAN MOUSAVI,
                                                            Civil No.: 17-cv-870 (KSH) (CLW)
                       Plaintiff,
         v.

  UNITED STATES CITIZENSHIP &
                                                                         OPINION
  IMMIGRATION SERVICES,

                       Defendant.

 Katharine S. Hayden, U.S.D.J.

        This matter comes before the Court on plaintiff Susan Mousavi’s motion for

 reconsideration (D.E. 38) of this Court’s opinion and order granting the motion to dismiss for

 lack of jurisdiction brought by defendant United States Citizenship & Immigration Services

 (“USCIS”) (D.E. 31). The Court granted oral argument on this motion, and engaged in lengthy

 discourse with counsel for both sides. It decides Mousavi’s motion for reconsideration bearing

 in mind the familiar cautions that a motion for reconsideration is not an alternative to the

 appellate process. Andreyko v. Sunrise Sr. Living, Inc., 993 F. Supp. 2d 475, 478 (D.N.J. 2014)

 (Debevoise, J.). And, it is deemed an “extremely limited procedural vehicle,” and “granted very

 sparingly.” Id. at 477.

        In rendering its decision from the bench in counsel’s presence, the Court recited the

 procedural and factual history of the case. (Transcript of 3/9/18 Oral Argument, Tr. 42-46.) As

 well, the Court discussed the relevant statutes and cases interpreting them. In short, there should

 be no issue about why the Court ruled as it did, nor a suggestion that it misunderstood what

 counsel was arguing. Reviewing its decision in the context of Mousavi’s motion, the Court is

 satisfied that her cause was thoroughly considered, and where she differs from the Court, the rift
  Case 2:17-cv-00870-KSH Document 45 Filed 12/31/18 Page 2 of 5 PageID: 403



is not caused by the Court’s overlooking cases, as she argues now, but rather the Court’s

disagreeing with her as to the import of what the cases said.

       In three concisely written pages, Mousavi lays out the reasons this Court was wrong in

deciding it was statutorily divested of jurisdiction to entertain her lawsuit:

       [T]he Court overlooked settled law that administrative decisions like Matter of
       Dhanasar, 26 I & N Dec. 884 (AAO 2016) have the force and effect of law when
       establishing eligibility criteria for a national interest waiver. Second, the decision
       overlooked controlling Third Circuit precedent such as Pinho v. Gonzales, 432 F.3d
       193 (3d Cir. 2005) and Hanif v. Attorney General, 694 F.3d 479 (3d Cir. 2012),
       which sharply distinguish between eligibility determinations and discretionary
       determinations and permit judicial review of legal eligibility determinations. Third,
       the decision also overlooked Alaka v. Attorney General, 456 F.3d 88 (3d Cir. 2006),
       which held that for the jurisdiction stripping provision in § 1252 (a)(2)(B) to apply
       the applicable statute must provide that discretion is the sole basis for denying an
       application, which is not the case for a national interest waiver.

(D.E. 38, Pl. Br. 2.) USCIS responded lengthily. The Court will be concise back.

       As to the first two arguments, USCIS correctly opposes on the basis that the Dhanasar

issue was thoroughly gone over, and the Court continues to reject Mousavi’s position that an

Administrative Appeals Office decision has the force and effect of law binding this Court despite

circuit precedent. Likewise the second argument fails; Mousavi gives the Court nothing to cause

it to revisit its decision that the statute offers a hybrid review process in which judicial scrutiny

of the eligibility determination can be made.

       As to the third argument raised in her motion, Mousavi properly notes that the Court did

not specifically address Alaka v. Attorney General, 456 F.3d 88 (3d Cir. 2006) in its oral opinion.

It does so now.

       Oyenike Alaka petitioned for review of a final order of removal issued by the Board of

Immigration Appeals (BIA) that, relevant here, affirmed the determination by the immigration

judge that she was ineligible for removal as person convicted of particularly serious crime. One




                                                   2
  Case 2:17-cv-00870-KSH Document 45 Filed 12/31/18 Page 3 of 5 PageID: 404



is struck immediately by the context of the case—and the decision fully explains why this is so

important. As described in the opinion,

       withholding of removal (“withholding”) is a mandatory form of relief from removal
       “if the Attorney General decides that the alien's life or freedom would be threatened
       in [the country to which the alien will be deported] because of the alien's race,
       religion, nationality, membership in a particular social group, or political opinion.”
       8 U.S.C. § 1231(b)(3)(A). An alien is ineligible for withholding, however, if, inter
       alia, “the Attorney General decides that . . . the alien, having been convicted by a
       final judgment of a particularly serious crime[,] is a danger to the community of the
       United States.” 8 U.S.C. § 1231(b)(3)(B)(ii).

456 F.3d at 94-95. The Third Circuit reasoned that the statutory language did not foreclose

judicial review, paying particular attention to the dynamic words “decide” and “determine.” The

court found that the determination of “a particularly serious crime” required the application of

facts to principals of law, making it distinct from a purely discretionary decision that would

trigger the § 1252 jurisdictional bar. So the question became, did the language of the

withholding statute provide the discretionary authority? Following that analytical path, the Third

Circuit held that the Attorney General’s decision that Alaka’s prior conviction involved a crime

of moral turpitude was reviewable.

       Mousavi seizes upon the decisional language in Alaka whereby the Third Circuit drew a

distinction within the range of cases reached by § 1252(a)(2)(B)(ii). “The jurisdiction-stripping

language of § 1252(a)(2)(B)(ii) applies not to all decisions the Attorney General is entitled to

make, but to a narrower category of decisions where Congress has taken the additional step to

specify that the sole authority for the action is in the Attorney General's discretion. Put another

way, the Attorney General's general authority to arrive at an outcome through the application of

law to facts is distinct from the issue of whether Congress has ‘specified’ that the decision lies in

the Attorney General's discretion and is thus unreviewable.” 456 F.3d at 95-96. Perhaps if the

court had stopped there, the issue here would be closer. But the decision went on, and made

crystal clear that words like “may” and “deems,” which both appear in the national interest


                                                  3
  Case 2:17-cv-00870-KSH Document 45 Filed 12/31/18 Page 4 of 5 PageID: 405



waiver statute, signify that discretionary authority exists. And not surprisingly, Alaka

specifically talks about Jilin Pharmaceutical USA, Inc. v. Chertoff, 447 F.3d 196 (3d Cir. 2006).

As the USCIS brief argues, with supporting cases, the fact that Alaka articulated a “narrower

category” of agency decisions immune from judicial review does not automatically mean that

national interest waiver decisions fall outside that category. (D.E. 42, Def. Br. 13-14.)

       Having addressed Alaka, the Court sees no reason to alter its decision and denies relief on

the grounds it overlooked (or misinterpreted) prevailing law. As to the declaration of Mousavi’s

husband submitted in support of Mousavi’s due process claim, the Court agrees with USCIS that

this does not qualify as “new evidence” previously unavailable “when the court granted the

motion.” (Def. Br. 17.) Mousavi first made her due process argument in her November 2017

motion for leave to amend. (D.E. 23.) Nothing in the declaration occurred after January 21,

2016. Mousavi could have attached a declaration to this effect when she filed her brief or at oral

argument. That issue aside, the Court would reach the same conclusion even upon consideration

of the declaration. Its ruling explicitly addresses Mousavi’s underlying constitutional claim and

follows Jilin, to wit, “because evaluating these constitutional claims requires us to revisit and

review the Attorney General’s exercise of discretion . . . , we lack the jurisdiction to consider

them.” 447 F.3d at 206. “[I]n Jilin, the Third Circuit found that the district court correctly

dismissed the constitutional claims for lack of jurisdiction, which is what this Court is required to

do as well.” Tr. 57-58.

Conclusion

       The Court has considered Mousavi’s arguments and for the reasons above, declines to

change its determination that § 1252(a)(2)(B)(ii) strips it of jurisdiction to review the decision

USCIS made to deny her I-140 petition and accompanying national interest waiver request.




                                                  4
  Case 2:17-cv-00870-KSH Document 45 Filed 12/31/18 Page 5 of 5 PageID: 406



Mousavi’s motion for extension of time to file a reply (D.E. 43) is DENIED as moot. An

appropriate order will follow.



                                                         /s/ Katharine S. Hayden
Date: December 31, 2018                                  Katharine S. Hayden, U.S.D.J




                                              5
